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    ~o 2455 (CASD) {Rev. 4/14)     Judgment in a Criminal Case
               Sheet 1




                                       v.                                           (For Offenses Committed On or After November I, 1987)

                           Edward Reynolds - 21                                     Case Number: 13-cr-0451O-JAH-21

                                                                                    Brian J. White
                                                                                    Defendant's Attorney
    REGISTRAnON NO. 46188298

    D
    THE DEFENDANT:
    l81 pleaded guilty to count(s) _O_n_e_o_f_t_he_ln_d_ic_t_m_e_n_t._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         after a plea of not gUilty.
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                         Nature ofOtTense                                                                               Numberls)
18:1962(d); 18:1963                   Conspiracy to Conduct Enterprise Affairs Through a Pattern of Racketeering Activity I




        The defendant is sentenced as provided in pages 2 through               4          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
                                      ----------------------------
 D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D are D dismissed on the motion ofthe United States.
 l81 Assessment: $100.00.

 l81 No fine                                       o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
      IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notifY the eourt and United States Attorney of any material ehange in the defendant's economic cireumstances.




                                                                                                                                         13-cr-04510-JAH-21
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AO 245B (CASD) (Rev 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                            Judgment - Page _...;;2;....- of   4

 DEFENDANT: Edward Reynolds - 21
 CASE NUMBER: 13-cr-04510-JAH-21
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Sixty-five months.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends the residential drug abuse program and that custody be served in Phoenix, AZ or the State of
         Arizona.



    o   The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                   Oa.m.      Op.m.       on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        ----------------------------------------------
          o    as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                               to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNI1ED STATES MARSHAL


                                                                    By _______~~~~~~==~~~----------
                                                                                       DEPlITY UNITED STATES MARSHAL




                                                                                                                   13-cr-04510-JAH-21
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AD 245B (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                              Judgment-Page    -----L- of _ _4:.....__
DEFENDANT: Edward Reynolds - 21                                                                       II
CASE NUMBER: 13-cr-0451O-JAH-21
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
four years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                  13-cr-04510-JAH-21
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     Continued 2 - Supervised Release

     Defendant: Edward Reynolds
     CASE NUMBER: 13CR451O-JAH-21

                                               SPECIAL CONDITIONS OF SUPERVISION


1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed
by the probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be
required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on ability to pay.


2.   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

3. Shall not associate with any member, prospect, or associate ofthe (Black MOB/Skanless), or any other gang, orclub with a history
of criminal activity, unless given permission by the probation officer.

4. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with the Black
MOB/Skaniess, unless given permission by the probation officer.

5. Shall not loiter, or be present in locations known to be areas where gang members congregate, unless given permission by the
probation officer.

6. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage devices or
media, and effects to search at any time, with or without a warrant, by any law enforcement or probation officer with reasonable
suspicion concerning a violation of a condition of probation/supervised release or unlawful conduct, and otherwise in the lawful
discharge of the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

7. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the
Internet without prior approval from the court or the probation officer. The offender shall consent to the installation of systems that
will enable the probation officer to monitor computer use on any computer owned or controlled by the offender. The offender shall pay
for the cost of installation of the computer software.

8. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third­
party communication, with the victim or victim's family, without prior approval of the probation officer.

9.   Not engage in directly or indirectly in prostitution related activities.

to. Not have any association with any known prostitutes or pimps and loiter in areas frequented by those engaged in prostitution.

11. Reside in a residence approved in advance by the probation officer, and any changes in residence shall be pre-approved by the
Probation Officer.
